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                       Exhibit A
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                                       UNITED STATES OF AMERICA
                                      FEDERAL TRADE COMMISSION

           COMMISSIONERS:                    Lina M. Khan, Chair
                                             Noah Joshua Phillips
                                             Rebecca Kelly Slaughter
                                             Christine S. Wilson


    In the Matter of
                                                                  Docket No. C-4316
    TWITTER, Inc.,
    a corporation.




                                                    DECISION

        The Federal Trade Commission (“Commission”) issued a Decision and Order against
Twitter, Inc. (“Twitter) in Docket C-4316 on March 2, 2011 (“2011 order”). 1 On May 25, 2022,
the United States of America, acting upon notification and authorization to the Attorney General
by the Commission, filed a complaint (“2022 complaint”) in federal district court alleging that
Twitter violated the 2011 order by misrepresenting the extent to which it maintained and protected
the privacy of nonpublic consumer information. The complaint also alleged that Twitter violated
Section 5 of the FTC Act by misrepresenting how it would use telephone numbers and email
addresses that users provided to enable a security feature.

        On May 26, 2022, Magistrate Judge Thomas S. Hixson in the District for the Northern
District of California entered a Stipulated Order for Civil Penalty, Monetary Judgment, and
Injunctive Relief (“Stipulated Order”) resolving the 2022 complaint. In Section II of the
Stipulated Order, Twitter consented to: (1) reopening the 2011 proceeding in FTC Docket No. C-
4316; (2) waiving its rights under the show cause procedures set forth in Section 3.72(b) of the
Commission’s Rules of Practice, 16 C.F.R. § 3.72(b); and (3) modifying the 2011 Order with the
new Decision and Order set forth below.

       In view of the foregoing, the Commission has determined that it is in the public interest to
reopen the proceeding in Docket No. C-4316 pursuant to Commission Rule 3.72(b), 16 C.F.R.
§ 3.72(b), and to issue a new order as set forth below. Accordingly,

           IT IS ORDERED that this matter be, and it hereby is, reopened; and




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    In the Matter of Twitter, Inc., C-4316, 151 FTC LEXIS 162 (F.T.C. March 2, 2011).

                                                         1
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        IT IS FURTHER ORDERED that, Twitter having consented to modifying the 2011
order as set forth below, the Commission hereby modifies the 2011 order with the attached
Decision and Order.

       By the Commission.




                                           April J. Tabor
                                           Secretary

SEAL:
ISSUED: May 26, 2022




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